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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )             8:06CR71
                                                   )
       vs.                                         )             ORDER
                                                   )
GUSTAVO SAUCEDO-BELTRAN and                        )
ROSARIO RAMIREZ-MORENO,                            )
                                                   )
                     Defendants.                   )


       The court will hold an evidentiary hearing on all pending motions, i.e., Motion to
Produce (Filing No. 30) filed by defendant Gustavo Saucedo-Beltran, Motion for Bill of
Particulars (Filing No. 26), Motion to Produce (Filing No. 27), Motion to Sever (Filing No. 28)
and Motion to Produce Confidential Informant (Filing No. 29) filed by defendant Rosario
Ramirez-Moreno on July 11, 2006 at 9:00 a.m. in Courtroom No. 7, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The defendants shall
be present.
       Counsel are reminded of the requirements of NECrimR 12.5 which provides as
follows:
              Disclosure of Evidence. This rule applies to all evidentiary
              hearings on pretrial motions in criminal cases.
              (a)    Witnesses. A the time of the hearing, and to the extent
              reasonably possible, the parties shall submit to the judge and
              courtroom deputy a written list of all witnesses whom the parties
              expect to call.
              (b)    Exhibits. At least twenty-four (24) hours before the
              hearing, each party shall mark the exhibits that party intends to
              introduce into evidence at the hearing, and provide a copy to
              counsel for all other parties and to the presiding judge.
Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.
       IT IS SO ORDERED.
       DATED this 2nd day of June, 2006.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
